Case 3:16-md-02738-MAS-RLS             Document 15833   Filed 11/25/20   Page 1 of 3 PageID:
                                            122236



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

    IN RE: JOHNSON & JOHNSON TALCUM
    POWDER PRODUCTS MARKETING,
    SALES PRACTICES AND PRODUCTS                        MDL No. 3:16-md-02738
    LIABILITY LITIGATION
    ---------------------------------------------

   This document relates to all cases
   listed on Exhibit A                                NOTICE OF MOTION TO
                                                       DISMISS PLAINTIFFS’
                                                    COMPLAINTS PURSUANT TO
                                                           RULE 41(b)


  TO: All Counsel of Record


  COUNSEL:
          PLEASE TAKE NOTICE that Defendants Johnson & Johnson and Johnson

  & Johnson Consumer Inc. (“Defendants”), will move before this Court on December

  21, 2020, or as soon thereafter as counsel may be heard, pursuant to Fed. R. Civ. P.

  41(b), for an Order dismissing Plaintiffs’ complaints for failure to comply with this

  Court’s October 13, 2020 Order.

          PLEASE TAKE FURTHER NOTICE that, in support of this Motion to

  Dismiss, Defendants will rely upon the accompanying Letter Brief in Support.

          PLEASE TAKE FURTHER NOTICE that a Proposed Order is attached.

          PLEASE TAKE FURTHER NOTICE that oral argument is requested if the

  motion is opposed.



  ACTIVE.125450938.01
Case 3:16-md-02738-MAS-RLS   Document 15833   Filed 11/25/20   Page 2 of 3 PageID:
                                  122237



                                  Respectfully submitted,

                                  /s/ Susan M. Sharko
                                  Susan M. Sharko
                                  FAEGRE DRINKER BIDDLE
                                   & REATH LLP
                                  600 Campus Drive
                                  Florham Park, NJ 07932-1047
                                  Telephone: (973) 549-7000
                                  Facsimile:    (973) 360-9831
                                  Email: susan.sharko@faegredrinker.com

                                  Attorneys for Defendants Johnson &
                                  Johnson and Johnson & Johnson Consumer
                                  Inc.
  Dated: November 25, 2020




                                      2
  ACTIVE.125450938.01
Case 3:16-md-02738-MAS-RLS     Document 15833   Filed 11/25/20   Page 3 of 3 PageID:
                                    122238



                                   EXHIBIT A


        MDL Case No.         Plaintiff Name            Law Firm Name
         3:17-cv-09127         Ellis, Paula      The Law Offices of Sean M.
                                                           Cleary
         3:18-cv-15782       Green, Catherine         Girardi & Keese
         3:18-cv-08463       Herrmann, Linda       Simmons Hanly Conroy
         3:19-cv-08359        Lagle, Sylvia        Heninger Garrison Davis
         3:18-cv-12309       Richard, Donna        Marlin & Saltzman LLP
         3:17-cv-06984        Smith, Sarah           Barrett Law Group




                                         3
  ACTIVE.125450938.01
